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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF SOUTH CAROLINA
                                  CHARLESTON DIVISION

                                                )
  IN RE: AQUEOUS FILM-FORMING                   )   MDL No. 2:18-mn-2873-RMG
  FOAMS PRODUCTS LIABILITY                      )
  LITIGATION                                    )   CASE MANAGEMENT ORDER NO. 26G
                                                )
                                                )   This Order Relates to All Actions
                                                )

       The Parties have jointly moved the Court to amend the schedule for the completion of Group

A personal injury bellwether expert discovery. (Dkt. No. 6531). The Court grants-in-party and denies-

in-part the Parties’ motion.

            SCHEDULING ORDER GOVERNING INITIAL PERSONAL INJURY
                BELLWETHER TRIAL POOL CASES (GROUP A CASES)

       The Court hereby issues the following Case Management Order (“CMO”) to govern the

schedule for completing further discovery, expert disclosures, expert discovery, trial selections, and

dispositive motion practice, and amends the initial trial date for the Tier 2 Group A cases selected by

the Court by Order dated July 19, 2024 [ECF 5361].

                               General Schedule for Tier 2 Group A Cases

       1.      The Parties shall conduct any additional fact discovery related to Group A cases from

July 16, 2024 until December 16, 2024 (Tier 2 Discovery); notwithstanding, the parties need to respond

to discovery already propounded and/or requested or which is necessary to facilitate responses to

discovery that has been propounded and/or requested, take depositions already noticed or that have

been requested, and/or to comply with any Orders of the Court regarding these discovery matters, even

if the date of compliance is after December 16, 2024.

       2.      Absent agreement of the Parties or good cause shown, the Parties shall be entitled to

serve additional written discovery in the form of requests for documents, interrogatories or requests

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for admissions but shall be limited to no more than five additional document requests and five

additional interrogatories beyond those served in Tier 1 Discovery, which shall not be duplicative of

prior requests or information provided in depositions. This does not alter the Parties’ continuing duty

to supplement any prior responses as appropriate.

       3.      The Parties shall confer and coordinate on the scheduling of any non-party depositions.

While non-party depositions are encouraged to be completed during Tier 2 discovery, the Parties may,

by agreement only, conduct third party depositions at any time before the end of expert discovery and

in accordance with CMO 22D.

       4.      Following the conclusion of Tier 2 Group A Discovery, the Parties shall exchange

expert discovery related to the Group A Initial Personal Injury Bellwether Trial Pool Plaintiffs

according to the following schedule:

               a.     On or before February 12, 2025, Plaintiffs shall make expert witness exchanges
                      pursuant to Fed. R. Civ. P. 26(a)(2).

               b.     On or before April 9, 2025, Defendants shall make expert witness exchanges
                      pursuant to Fed. R. Civ. P. 26(a)(2).

               c.     On or before April 22, 2025, Plaintiffs shall make any rebuttal expert witness
                      exchanges pursuant to Fed. R. Civ. P. 26(a)(2).

               d.     Along with any Rule 26(a) expert disclosures, the Parties shall provide at least
                      two dates when an expert is available for their deposition prior to the deadline
                      set forth in Paragraph 4(e).

               e.     Depositions of Group A designated experts shall be completed by May 27,
                      2025. Expert depositions shall not commence until all expert reports have been
                      tendered, although if a given expert does not intend to tender a rebuttal report,
                      the Parties may start the deposition(s) of such experts before April 22, 2025.
                      Absent agreement of the Parties, the deposition of an expert designated by
                      Plaintiff shall be completed prior to the deposition of the corresponding expert
                      (e.g., same discipline) designated by one or more defendants.

               f.     The Parties intend that the limitations on expert discovery set forth in Rule 26
                      of the Federal Rules of Civil Procedure, including the provisions of Rule
                      26(b)(4)(A)-(D) limiting discovery with respect to draft reports,
                      communications with experts, and depositions of consulting experts, shall


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                       apply.

       5.      Trial Designations and Motion scheduling for Group A Plaintiffs shall proceed as

follows: By no later than April 22, 2025, the Parties shall meet and confer as to which of the Group A

cases shall move forward with motion practice and trial, as well as a briefing schedule for summary

judgment and Daubert motions.

               a.      By May 6, 2025, the Parties shall file joint or competing proposals for which of
                       the Group A cases shall move forward with motion practice and trial.

               b.      Summary Judgment Motions and/or Rule 702 Motions shall be on the following
                       schedule and filed as to the trial case(s) only:

                       i.     Summary judgment motions and/or Rule 702 Motions to be filed by:
                              June 17, 2025.

                       ii.    Responses to Dispositive Motions and/or Rule 702 Motions to be filed
                              by: July 17, 2025.

                       iii.   Replies in Support of Dispositive Motions and/or Rule 702 Motions to
                              be filed by: July 31, 2025.

       6.      Within 14 days of the Court’s selection of the Group A cases that will move forward

with motion practice and trial, the Parties will propose a Case Management Order to submit to the

Court for approval that will set forth the final pre-trial schedules and deadlines for the Group A trial

Case(s), which shall include schedules and deadlines for the following: (1) motions in limine,

oppositions, replies, and argument(s), (2) deposition designations, counter designations and objections,

including objections to counter designations and reply designations; (3) fact witness and expert witness

lists; (4) exhibit lists and objections; (5) proposed jury instructions; (5) proposed voir dire process,

including a questionnaire, if any; (6) a date for a final pre-trial conference; and (6) any other deadlines

and hearings as the Court requires.

       7.      The Court sets the initial Tier 2 Group A trial date for October 20, 2025.


  IT IS SO ORDERED.


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Dated: January 8 , 2025                              s/Richard M. Gergel
Charleston, South Carolina                           Hon. Richard M. Gergel
                                                     United States District Judge




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